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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

    Mia Castro, Heidi Boules, Ashley Eltorai, Jodi-Ann
    Oliver, Lori-Ann Oliver, Elizabeth Reinhart,
            Plaintiffs,
                                                             Civil No. 3:20cv330 (JBA)
            v.

    Yale University, Yale New Haven Hospital, Manuel
    Lopes Fontes,
           Defendants.

             NOTICE TO DEFENDANT MANUEL LOPES FONTES AND ORDER

       By Motion dated October 1, 2020, which was mailed to you electronically and via

U.S. mail, Attorneys Robert Mitchell, Margaret Sheahan, Reese Mitchell and Aimee Wood

have moved to withdraw their appearances on your behalf [Doc. # 79] on grounds that

there has been an irreparable breakdown in the attorney-client relationship as well as a

financial hardship to the firm of Mitchell & Sheahan, P.C.

       Pursuant to D. Conn. L. Civ. R. 7(e) motions to withdraw an attorney appearance

"normally shall not be granted except upon a showing that other counsel has appeared or

that the party has elected to proceed pro se."   However, where good cause exists for

permitting withdrawal by appearing counsel, the Court may grant the motion and if you fail

to engage substitute counsel or file a pro se appearance by the deadline ordered, a default

may be entered against you.     You have 21 days (until December 24, 2020) to have

substitute counsel file an appearance on your behalf or to file your pro se appearance.

       The Court found, on the record of December 1, 2020, that good cause has been

shown by Attorneys Robert Mitchell, Margaret Sheahan, Reese Mitchell and Aimee Woods

to grant their Motion to Withdraw Appearances.      Accordingly their motion will be
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granted on December 24, 2020.      If substitute counsel fails to file an appearance on your

behalf, or you fail to a pro se appearance by December 24, 2020, you may be deemed to

have failed to appear, plead and/or comply with a court order and default may be entered

against you.   Plaintiffs may then move for entry of Default Judgment which, if granted and

default judgment is entered, may only be set aside in accordance with Fed. R. Civ. P. 60.

       Attorneys Robert Mitchell, Margaret Sheahan, Reese Mitchell and Aimee Woods’

shall provide Defendant Manuel Lopes Fontes with a copy of this Notice and Order and a

pro se appearance form.

                                           IT IS SO ORDERED.

                                           /s/_______________________________
                                           Janet Bond Arterton, U.S.D.J.


Dated at New Haven, Connecticut this 3rd day of December 2020.
